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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  SHAHRIAR JABBARI, et al.,                         Case No. 15-cv-02159-VC
                 Plaintiffs,
                                                    ORDER DENYING MOTION TO SET
          v.                                        ASIDE JUDGMENT
  WELLS FARGO & CO., et al.,                        Re: Dkt. No. 425
                 Defendants.



       Andrew Hollis’s motion to set aside the denial of a writ of mandamus in which he sought

classification as a claimant and a payout from the settlement fund is denied. The motion is

untimely under Rule 59(e). And even assuming the motion is properly styled as a Rule 60 motion

and timely filed, Hollis has not shown that he meets the criteria for relief. The documents he

provides do not show either that he is an automatically enrolled claimant or that he timely

presented his claim to the Settlement Administrator.


       IT IS SO ORDERED.

Dated: November 30, 2021
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
